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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF RHODE ISLAND

 UNITED STATES OF AMERICA                   Criminal Case No. 14-cr-0016-WES
            v.
 PHILIP DEBARTOLO



                   GOVERNMENT’S RESPONSE TO DEFENDANT’S
                    MOTION FOR COMPASSIONATE RELEASE
        The Government objects to Defendant Philip DeBartolo’s motion. Defendant,

 who has no health condition that exposes him to heightened risk of illness from

 COVID-19, fails to sets forth any basis for compassionate release.


 I.     BACKGROUND

        Defendant, under 18 U.S.C. § 3582(c)(1)(A)(i), moves for reduction of his

 sentence. See Def.’s Mot. In the first quarter of 2014, Defendant was arrested and

 subsequently indicted on four counts of being a felon in possession of firearms, three

 counts of marijuana distribution, and other related gun and drug charges. See Dkt. No.

 27 (“PSR”) at ¶¶ 1-3. After having been convicted in 2005 on various felony counts

 arising from his participation in a drive-by shooting, in 2013 Defendant in three sepa-

 rate transactions sold three firearms to an undercover agent who presented himself as

 being a gang member. See id. at ¶¶ 7-11, 23, 28. Defendant also sold that undercover

 agent marijuana on four occasions. See id. at ¶¶ 8, 10, 13, 18, 25. At the end of the case,

 when Defendant’s home was searched, agents found nine firearms, ammunition, and

 firearms paraphernalia hidden in a storage room and a 31-plant marijuana grow in

 another room. See id. at ¶¶ 34-43. His Guidelines range was 235 to 293 months. See

 id.at ¶ 100. On January 30, 2015, Defendant was sentenced to 120 months of

 incarceration. See Dkt. No. 35 (Judgment).




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         To date, Defendant has been in custody for approximately 93 months 1 and has an

 estimated 16 months remaining. Approximatley 27 months in Defendant’s term. His

 project release date from Fort Dix FCI is September 16, 2022. 2 See BOP Inmate Locator

 at https://www.bop.gov/ inmateloc/ (last visited June 2, 2020).

         At Fort Dix, there are presently 19 inmates and 0 staff members who are positive

 for COVID-19, and 26 inmates and 5 staff members have recovered. See BOP COVID-19

 page at https://www.bop.gov /coronavirus/ (last visited June 2, 2020). There have

 been no COVID-19 deaths at the prison. See id. Fort Dix FCI presently houses 2,638

 inmates. See id.; see https://www.bop.gov/locations /institutions/ftd/ (last visited
 June 2, 2020).



 II.     ARGUMENT

         Under 18 U.S.C. § 3582(c)(1), provided that a defendant has exhausted admini-

 strative remedies, a condition present here, a court may reduce the defendant’s term of

 imprisonment “after considering the factors set forth in [18 U.S.C. § 3553(a)]” if the

 court finds, as relevant here, both that (i) “extraordinary and compelling reasons war-

 rant such a reduction” and (ii) “such a reduction is consistent with applicable policy

 statements issued by the Sentencing Commission.” Id. § 3582(c)(1)(A)(i). The moving

 defendant bears the burden of establishing that he or she is eligible for a reduction. See,

 e.g., United States v. Jaca-Nazario, 521 F.3d 50, 57 (1st Cir. 2008); United States v. Ventura-

 Cruel, 133 F. Supp. 2d 138, 142 (D.P.R. 2001); see also United States v. Miamen, 2020 WL

 1904490, at *2 (D.R.I. Apr. 17, 2020).

         A reduction in sentence will be consistent with USSG § 1B1.13, the “applicable

 policy statement” referenced in § 3582(c)(1)(A)(i), if after considering the § 3553(a)

 1   He was arrested and detained on January 15, 2014. See PSR at 1.
 2 The release-date calculation appears to incorporate pre-judgment detention and good
 time.

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 factors, the Court finds that (i) “extraordinary and compelling reasons warrant the

 reduction;” (ii) “the defendant is not a danger to the safety of any other person or to the

 community;” and that (iii) the reduction is otherwise consistent with the policy state-

 ment. USSG § 1B1.13 (citing 18 U.S.C. § 3142(g)). 3

        As elaborated below, Defendant fails to establish extraordinary and compelling

 reasons, and a reduction would be inconsistent with the applicable policy statement.

        A.     Covid-19, by itself, is not a reason for release.

        The mere existence of the COVID-19 pandemic, which poses a general threat to

 every non-immune person in the country, does not alone provide a basis for a sentence

 reduction. As the Third Circuit has held, “the mere existence of COVID-19 in society

 and the possibility that it may spread to a particular prison alone cannot independently

 justify compassionate release.” Raia, 954 F.3d at 597; see also United States v. Eberhart,

 2020 WL 1450745, at *2 (N.D.Ca. Mar. 25, 2020) (“a reduction of sentence due solely to

 concerns about the spread of COVID-19 is not consistent with the applicable policy

 statement of the Sentencing Commission as required by § 3582(c)(1)(A).”). 4

 3 The policy statement refers only to motions filed by the BOP Director. That is because
 the statement was last amended on November 1, 2018, and, until the enactment of the
 First Step Act on December 21, 2018, defendants themselves were not entitled to file
 motions under 18 U.S.C. § 3582(c). See First Step Act of 2018, Pub. L. No. 115-391,
 § 603(b), 132 Stat. 5194, 5239; cf. 18 U.S.C. § 3582(c) (2012). In light of the statutory
 command that any sentence reduction be “consistent with applicable policy statements
 issued by the Sentencing Commission,” § 3582(c)(1)(A)(ii), and the lack of any plausible
 reason to treat motions filed by defendants differently from motions filed by BOP,
 USSG § 1B1.13 applies to motions filed by defendants as well. See, e.g., United States v.
 Willingham, 2019 WL 6733028, at *1-2 (S.D. Ga. Dec. 10, 2019); United States v. Lynn, No.
 CR 89-0072-WS, 2019 WL 3805349, at *2-4 (S.D. Ala. Aug. 13, 2019). And while some
 courts do not consider USSG § 1B1.13 to be binding, they have still concluded that it
 provides the Court with relevant guidance. See, e.g., United States v. Ebbers, --- F. Supp.
 3d ---, 2020 WL 91399, at *4-5 (S.D.N.Y. Jan. 8, 2020); United States v. Rivernider, No. 3:10-
 CR-222(RNC), 2019 WL 3816671, at *2 (D. Conn. Aug. 14, 2019).
 4 See also, e.g., United States v. Coles, Case No. 18-cr-20254, 2020 WL 1899562 (E.D. Mich.
 Apr. 17, 2020) (denied for 28-year-old inmate at institution with outbreak); United States
 v. Haney, No. 19-cr-541 (JSR), 2020 WL 1821988 (S.D.N.Y. Apr. 13, 2020) (denied for 61-
 year-old with no other conditions); United States v. Pinto-Thomaz, No. 18-cr-579 (JSR),
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 Section 3582(c)(1)(A) contemplates sentence reductions for specific individuals, not the

 widespread prophylactic release of inmates and the modification of lawfully imposed

 sentences in order to deal with a world-wide viral pandemic.

        COVID-19 is one factor among others that should be considered and assessed. If

 an inmate has a chronic medical condition that has been identified by the CDC as

 elevating the inmate’s risk of becoming seriously ill from COVID-19, 5 that medical

 condition may satisfy the standard of “extraordinary and compelling reasons” depend-

 ing on the evidence presented. Similarly, a defendant’s age-related decline in health

 may make him more susceptible to severe illness if he contracts COVID-19 even where

 his or her age-related health issues would not otherwise have qualified him or her for

 release. See USSG § 1B1.13, cmt. n.1(A)(ii)(III). 6 As part of its analysis of the totality of
 circumstances, however, courts should also consider whether the inmate is more likely

 to contract COVID-19 if he or she is released than if he or she remains incarcerated.



 2020 WL 1845875 (S.D.N.Y. Apr. 13, 2020) (two insider trading defendants with less
 than a year to serve have no risk factors).
 5See CDC website, At Risk for Severe Illness, at https://www.cdc.gov/coronavirus/2019-
 ncov/need-extra-precautions/groups-at-higher-risk.html (last accessed May 4, 2020).
 6 The USSC policy statement includes an application note that specifies the types of
 medical conditions that qualify as “extraordinary and compelling reasons.” First, that
 standard is met if the defendant is “suffering from a terminal illness,” such as
 “metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
 disease, [or] advanced dementia.” USSG § 1B1.13, cmt. n.1(A)(i). Second, the standard
 is met if the defendant is (I) suffering from a serious physical or medical condition, (II)
 suffering from a serious functional or cognitive impairment, or (III) experiencing
 deteriorating physical or mental health because of the aging process, that substantially
 diminishes the ability of the defendant to provide self-care within the environment of a
 correctional facility and from which he or she is not expected to recover. Id. cmt.
 n.1(A)(ii).
  The application note also sets out other conditions and characteristics that qualify as
 “extraordinary and compelling reasons” related to the defendant’s age and family
 circumstances. Id. cmt. n.1(B)-(C). Finally, the note recognizes the possibility that BOP
 could identify other grounds that amount to “extraordinary and compelling reasons.”
 Id. cmt. n.1(D).

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        Here, Defendant has no CDC-recognized factor that heightens his risk of severe

 illness from COVID-19.

        B.     Defendant, although not of ideal health, does not suffer from any
               condition that places him at greater risk should he contract COVID-19.
        Defendant’s medical records substantiate that he has been diagnosed as having

 or assessed to have stage three (or “moderate”) kidney disease, hypertension that is

 “well-controlled,” anemia that was “resolved,” hyperlipidemia with a low “10-year risk

 of heart disease or stroke,” hematuria, and prediabetes. See Medical Records (filed

 under seal by Defendant) at 8. Defendant opines that these conditions place him at a

 greater risk of severe illness from COVID-19. The Centers for Disease Control and

 Prevention (“CDC”) does not support Defendant’s opinion.

        According to the CDC, people with the following conditions are at severe risk of

 illness from COVID-19:
                  •   “asthma (moderate-to-severe),”
                  •   “chronic kidney disease being treated with dialysis,”
                  •   “ chronic lung disease,”
                  •   “diabetes,“
                  •   “hemoglobin disorders,”
                  •   a weakened immune system “(immunocompromised),”
                  •   ”liver disease,”
                  •   a “serious heart condition[],” which includes “pulmonary
                      hypertension,” and
                  •   “severe obesity, defined as a body mass index (BMI) of 40 or
                      above.”
 See CDC website at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

 precautions/groups-at-higher-risk.html#serious-heart-conditions (last accessed June 2,

 2020) (emphasis added). 7 Defendant does not, according to his medical records, have

 any of these conditions. See Medical Records. There is no indication that his moderate

 kidney condition is being treated with dialysis. See id. There is no indication that he


 7 People who are 65 or older or who live in nursing homes or long-term care facilities
 are also at greater risk.

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 has pulmonary hypertension, a specific type of hypertension. 8 He has been assessed as

 having prediabetes, a heightened risk of diabetes at some point in the future. 9 He has

 not been found to have diabetes. None of the other conditions cited in his motion are

 recognized by the CDC as creating heightened risk.     Defendant has not established

 that he has a heighten risk of severe illness from COVID-19.

       Furthermore, Defendant’s own characterization of conditions at Fort Dix

 suggests that nothing prevents him from practicing appropriate social distancing. The

 prison appears to have reduced population such that he and four others are in a unit

 that normally houses twelve. See D.’s Mot. at 4. Indeed, Fort Dix is overall only at 52%

 of capacity. 10 Furthermore, the spread of COVID-19 at Fort Dix is limited, and cannot
 be characterized as an outbreak or uncontrolled contagion. It appears that the prison’s

 mitigation and containment efforts have kept infection rates low.

       The reasons the Court earlier found for issuing a 120-month term of incarceration

 remain unchanged. In these COVID-19 times, Defendant’s health condition, although

 not optimal, does not create an extraordinary or compelling reason for early release.

 8 “Pulmonary hypertension is a type of high blood pressure that affects the arteries in
 your lungs and the right side of your heart.” See Mayo Clinic website at
 https://www.mayoclinic.org/diseases-conditions/pulmonary-
 hypertension/symptoms-causes/syc-20350697 (last accessed June 2, 2020). “The term
 pulmonary hypertension refers to high blood pressure in the lungs. While in regular
 hypertension (also known as high blood pressure), the arteries throughout the body are
 constricted, PH primarily affects the blood vessels in the lungs, making the right side of
 the heart work harder.” See Pulmonary Hypertension Association website at
 https://phassociation.org/patients/aboutph/types-of-ph/#:~:text=The%20term%20
 pulmonary%20hypertension%20refers,of%20the%20heart%20work%20harder. (last
 accessed June 2, 2020).
 9 See Mayo Clinic website at https://newsnetwork.mayoclinic.org/discussion/mayo-
 clinic-q-and-a-how-to-reverse-prediabetes/ (last accessed June 2, 2020) (describing
 difference between diabetes and prediabetes and ways for those who have been
 diagnoses with prediabetes to avoid diabetes).
 10Defendant specifies that Fort Dix FCI has a capacity to house 5000 inmates. See D.’s
 Mot. at 3. As set forth in the background section above, Fort Dix FCI is presently
 housing only 2683 inmates.

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 Defendant has failed to establish grounds for early release.



 III.   CONCLUSION

        For the foregoing reasons, Defendant’s motion for compassionate release should

 be denied.



                                                 Respectfully submitted,

                                                 UNITED STATES OF AMERICA
                                                 By its Attorney,
                                                 AARON L. WEISMAN
                                                 United States Attorney

                                                 /s/ Milind Shah
                                                 MILIND SHAH
                                                 Assistant U.S. Attorney
                                                 U.S. Attorney's Office
                                                 50 Kennedy Plaza, 8th FL
                                                 Providence, RI 02903
                                                 Tel (401) 709-5000
                                                 Fax (401) 709-5001
                                                 Email: milind.shah@usdoj.gov


                              CERTIFICATE OF SERVICE

        On this 2nd day of June 2020, I filed the above response using the Court’s

 electronic filing system and thereby made the filing available to Defendant’s counsel,

 Jason Knight, Esquire.

                                                 /s/ Milind Shah
                                                 MILIND SHAH
                                                 Assistant U.S. Attorney
                                                 U.S. Attorney's Office
                                                 50 Kennedy Plaza, 8th FL
                                                 Providence, RI 02903
                                                 Tel (401) 709-5000
                                                 Fax (401) 709-5001
                                                 Email: milind.shah@usdoj.gov




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